                      Case 20-05180         Doc 26       Filed 07/29/20 Entered 07/29/20 11:57:43                          Desc Main
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Fill in this information to identify the case:

Debtor 1 Dianne L. Seeman

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the: NORTHERN                   District of ILLINOIS
                                                                              (State)

Case number 20-05180



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                     12/16


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:                FREEDOM MORTGAGE CORPORATION,                      Court claim no. (if known)         N/A

Last four digits of any number you                 XXXXXX6419
use to identify the debtor’s account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice:

Part 1:                Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                       Dates incurred                                Amount

1.      Late charges                                                                                                             (1)    $           0.00
2.      Non-sufficient funds (NSF) fees                                                                                          (2)    $           0.00
3.      Attorney fees                                                                                                            (3)    $           0.00
4.      Filing fees and court costs                                                                                              (4)    $           0.00
5.      Bankruptcy/Proof of claim fees                                                                                           (5)    $           0.00
6.      Appraisal/Broker's price opinion fees                                                                                    (6)    $           0.00
7.      Property inspection fees                                                                                                 (7)    $           0.00
8.      Tax advances (non-escrow)                                                                                                (8)    $           0.00
9.      Insurance advances (non-escrow)                                                                                          (9)    $           0.00

10. Property preservation expenses. Specify:          _____________                                                              (10)   $           0.00
11. Other. Specify:           Plan Review                                                 3/24/2020                              (11)   $        $350.00



The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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Debtor 1        Dianne L. Seeman                                                    Case number (if known)      20-05180
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Kinnera Bhoopal                                                                     Date       7/28/2020
                 Signature

Print:           Kinnera                                                  Bhoopal                       Title      Authorized Agent
                 First Name                   Middle Name                 Last Name

Company          McCalla Raymer Leibert Pierce, LLC

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                              GA                   30076
                 City                                 State                ZIP Code

Contact phone           (312) 348-9088 X5172                                   Email        Kinnera.Bhoopal@mccalla.com




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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS


In re:                                                                   )
                                                                         )      Case No. 20-05180
Dianne L. Seeman                                                         )      Chapter 13
                                                                         )
                                                                         )      JUDGE: LASHONDA A. HUNT


                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM
Other                                                                                                                              $350.00

             03/24/2020                                         Review and Analysis of                                   $350.00
                                                                Schedules, Plan, Docket, Loan
                                                                Docs




 TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                                  $350.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
   Case
B 10        20-05180
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                                                        Bankruptcy Case No.: 20-05180
In Re: Dianne L. Seeman                                 Chapter:             13
                                                        Judge:               LaShonda A. Hunt


                                       CERTIFICATE OF SERVICE

      I, Kinnera Bhoopal, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy
matter on the following parties at the addresses shown, by regular United States Mail, with
proper postage affixed, unless another manner of service is expressly indicated:

Dianne L. Seeman
102 Anita Street
Rockdale, IL 60436

David M Siegel                                    (served via ECF Notification)
David M. Siegel & Associates
790 Chaddick Drive
Wheeling, IL 60090

Glenn B Stearns                                   (served via ECF Notification)
801 Warrenville Road Suite 650
Lisle, IL 60532

U.S. Trustee
Patrick S Layng                                   (served via ECF Notification)
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:            7/29/2020       By:    /s/Kinnera Bhoopal
                          (date)               Kinnera Bhoopal
                                               Authorized Agent for Freedom Mortgage Corporation
